       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Jeffrey Dean Bondi
        v. Commonwealth of Virginia
        Record No. 1676-17-1
        Opinion rendered by Judge O’Brien on
        March 26, 2018

    2. Eric William Wandemberg
       v. Commonwealth of Virginia
       Record No. 0137-18-2
       Opinion rendered by Judge Humphreys on
        April 2, 2019

    3. Joshua Saquan Maurice Eley
        v. Commonwealth of Virginia
        Record No. 0625-18-1
        Opinion rendered by Chief Judge Decker on
        April 16, 2019

    4. Ryan Taylor
       v. Commonwealth of Virginia
       Record No. 0719-18-2
       Opinion rendered by Judge Petty on
        April 16, 2019

    5. Loudoun County
       v. Michael Richardson
       Record No. 1533-18-4
       Opinion rendered by Judge O’Brien on
        April 16, 2019
   The following case in which the Court of Appeals issued published opinion have been
disposed of by the Supreme Court:

1. James Willis Campbell, Sr.
    v. Commonwealth of Virginia
   Record No. 1923-15-3
    Opinion rendered by Judge Chafin
     on August 21, 2018
    Refused (181237)
       The Supreme Court issued opinions in the following cases, which had been appealed from
this Court:

    1. Mark David Murgia
       v. Commonwealth of Virginia
       Record No. 0788-16-1
       Case decided by unpublished order upon remand from the Supreme Court
         affirming memorandum opinion rendered by Senior Judge Bumgardner
         on May 30, 2017
        Judgments of Court of Appeals reversed and final judgment entered reinstating
          appellant’s conviction by opinion rendered on May 16, 2018
       (180946)

    2. Vincent Earl Spinner
       v. Commonwealth of Virginia
       Record No. 1070-16-3
       Memorandum opinion rendered by Judge Chafin on April 3, 2018
       Judgment of Court of Appeals affirmed by opinion rendered on May 30, 2019
       (180583)
